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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                      )
OPIATE LITIGATION                                )      MDL No. 2804
                                                 )
THIS DOCUMENT RELATES TO:                        )      Case No. 1:17-md-2804
                                                 )
All Cases                                        )      Hon. Dan Aaron Polster


                   DEFENDANT ASSOCIATED PHARMACIES, INC.’S
                     AMENDED NOTICE REGARDING SERVICE

       In accordance with the Court’s April 11, 2018 Case Management Order One, Paragraph

6.d., Defendant Associated Pharmacies, Inc. (“API”) hereby submits this amended notice

regarding service. The proper form for waiver of service for API is attached to this Notice as

Exhibit A. The standard form has been modified in accordance with this Court’s orders. Requests

for waiver of service to API shall be made, complete with all required case information and a PDF

copy of the complaint and any exhibits thereto, via email to the following attorney:

                                        S. Reeves Jordan
                                 rejordan@maynardnexsen.com

       Dated: April 17, 2023

                                                            /s/ S. Reeves Jordan
                                                            One of the Attorneys for Associated
                                                            Pharmacies, Inc.
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Attorneys for Associated Pharmacies, Inc.



                                CERTIFICATE OF SERVICE

       I hereby certify that on April 17, 2023, the foregoing was electronically filed with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.


                                                             /s/ S. Reeves Jordan
                                                             Of Counsel




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